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   1   KELLEY DRYE & WARREN LLP
       Becca J. Wahlquist (SBN 215948)
   2
       350 South Grand Avenue, Suite 3800
   3   Los Angeles, CA 90071
       Telephone: (213) 547-4900
   4
       Facsimile: (213) 547-4901
   5   bwahlquist@kelleydrye.com
   6
       KELLEY DRYE & WARREN LLP
   7   Geoffrey W. Castello (Pro Hac Vice forthcoming)
       One Jefferson Road, 2nd Floor
   8
       Parsippany, NJ 07054
   9   Telephone: (973) 503-5900
       Facsimile: (973) 503-5950
 10
       gcastello@kelleydrye.com
 11
 12    Attorneys for Defendant Michael Kors (USA), Inc.

 13
                          UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15
       SONYA VALENZUELA, individually Case No. 2:22-cv-05902-SPG-AFM
 16    and on behalf of all others similarly
 17    situated,                             [Assigned to Hon. Sherilyn Peace
                                             Garnett]
 18    Plaintiff,
 19    v.                                    DEFENDANT MICHAEL KORS
                                             (USA), INC.’S REQUEST FOR
 20
       MICHAEL KORS (USA), INC., a           JUDICIAL NOTICE
 21    Delaware limited liability company;
       and DOES 1 through 25, inclusive.,    [Motion to Dismiss and Proposed Order
 22
                                             filed concurrently]
 23    Defendants.
                                             Hearing: December 7, 2022
 24
                                             Time: 1:30 p.m.
 25                                          Location: Courtroom 5C
 26
 27
                                        Case No. 2:22-cv-05902-SPG-AFM
 28     DEFENDANT MICHAEL KORS (USA), INC.’S REQUEST FOR JUDICIAL
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   1         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
   2   RECORD:
   3         PLEASE TAKE NOTICE that, in support of its Motion to Dismiss the
   4   Complaint, Defendant Michael Kors (USA), Inc. (“Michael Kors”) respectfully
   5   requests incorporation by reference or judicial notice of the following documents:
   6         Exhibit A: A screenshot of the home page for https://michaelkors.com,
   7                      which is the website that Plaintiff allegedly visited (the
   8                      “Website”);
   9         Exhibit B: A screenshot of the “Live Chat” feature on the Website, which
 10                       forms the basis for Plaintiff’s claims at issue;
 11          Exhibit C:    A screenshot of the “Contact Us” page for the Website, which
 12                       forms the basis for Plaintiff’s claims at issue;
 13          Exhibit D: Privacy Policy of the Website last updated 3/29/21 (the “Privacy
 14                       Policy”).
 15     THE COURT HAS AUTHORITY TO INCORPORATE BY REFERENCE
 16          The incorporation by reference “doctrine prevents plaintiffs from selecting
 17    only portions of documents that support their claims, while omitting portions of
 18    those very documents that weaken – or doom – their claims.” Khoja v. Orexigan
 19    Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir. 2018), cert. denied sub nom. Hagan
 20    v. Khoja, 139 S. Ct. 2615 (2019). A document may be incorporated by reference
 21    where “the plaintiff refers extensively to the document or the document forms the
 22    basis of the plaintiff's claim.” Id. Courts may assume the contents of an incorporated
 23    document are true for purposes of a motion to dismiss. Id. at 1003.
 24          This Court can and should incorporate by reference the full and complete
 25    screenshot of the home page of the Website, attached hereto as Exhibit A, which is
 26    the first page Plaintiff alleged she viewed on the Website during her alleged
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   1   interactions with the Website. Therefore, according to Plaintiff’s allegations, she
   2   necessarily accessed this page when she “visited Defendant’s Website.” (Am.
   3   Compl. ¶ 16). Her alleged interactions with the Website comprise the entire basis
   4   of her factual allegations. (Id. ¶¶ 8-18.) Plaintiff—like all Website visitors—could
   5   only have accessed the Website’s Live Chat feature at issue and communicated
   6   therewith by first navigating this home page. As such, the Court should consider
   7   the full Website relied upon and referenced by Plaintiff in her Amended Complaint.
   8         The Court can and should also incorporate by reference the “Live Chat”
   9   feature available on the Website’s home page, attached hereto as Exhibit B. This
 10    document may be incorporated by reference because the Website’s Live Chat feature
 11    forms the entire basis of Plaintiff’s allegations against Michael Kors. (Am. Compl.
 12    ¶ 11.)   Indeed, Plaintiff’s proposed class is defined as including users who
 13    “communicated with Defendant via the chat feature on Defendant’s Website.” (Id.
 14    ¶ 19.) As such, Plaintiff relies on her interactions with this Live Chat feature to
 15    establish any of the factual allegations alleged in the Amended Complaint, so the
 16    Court should incorporate it by reference.
 17          This Court can and should also incorporate by reference the full and complete
 18    screenshot of the “Contact Us” page from the Website, attached hereto as Exhibit
 19    C. This document may be incorporated by reference because this is another page in
 20    which Plaintiff could have allegedly accessed the Live Chat feature at issue, which
 21    forms the entire basis of her factual allegations against Michael Kors. (Am. Compl.
 22    ¶¶ 11, 19.) Therefore, in addition to the Live Chat feature, Plaintiff relies on her
 23    interactions with this “Contact Us” page to establish the factual allegations alleged
 24    in the Amended Complaint. The Court should therefore incorporate it by reference.
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   1         THE COURT HAS AUTHORITY TO TAKE JUDICIAL NOTICE
   2         Rule 201 of the Federal Rules of Evidence provides that a court may take
   3   judicial notice of a fact “not subject to reasonable dispute” that “can be accurately
   4   and readily determined from sources whose accuracy cannot reasonably be
   5   questioned.” Fed. R. Evid. 201(b)(2). Under this rule, courts—including those
   6   within the Ninth Circuit—regularly take judicial notice of materials whose contents
   7   are alleged in a complaint, are central to the plaintiff’s claim, and whose authenticity
   8   is not questioned by any party.
   9         This Court can and should take judicial notice of the Privacy Policy of the
 10    Website, attached hereto as Exhibit D. Courts in the Ninth Circuit regularly take
 11    judicial notice of privacy policies on websites when user interactions with a website
 12    is at issue in the case. See, e.g., Yoon v. Lululemon USA, Inc., 549 F. Supp. 3d 1073,
 13    1079 (C.D. Cal. 2021) (taking judicial notice of the “Lululemon Privacy Policy and
 14    the Lululemon Website Screenshot because the Amended Complaint also discusses
 15    those documents extensively”); Hulsey v. Peddle, LLC, No. CV 17-3843 DSF
 16    (ASX), 2017 WL 8180583, at *1 n.1 (C.D. Cal. Oct. 23, 2017) (“The Court takes
 17    judicial notice of Junk Car Zone’s Privacy Policy because its authenticity is not
 18    contested and it is central to Hulsey's claim that she did not consent to receive texts
 19    from Peddle.”); see also In re Facebook, Inc. Secs. Litig., 477 F. Supp. 3d 980, 1009-
 20    10 (N.D. Cal. 2020) (“It is common for courts to take judicial notice of a company’s
 21    historical privacy policies.”); In re Toll Roads Litig., No. SACV1600262AGJCGX,
 22    2018 WL 6131178, at *2 (C.D. Cal. Jan. 12, 2018) (“Courts may take judicial notice
 23    of publicly available policies.”). Exhibit D reflects the content of the Privacy Policy,
 24    which was last updated on March 19, 2021. March 29, 2021 is before the one-year
 25    time period that Plaintiff allegedly accessed and communicated with the Website,
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   1   meaning this policy was available during all of Plaintiff’s alleged communications
   2   with Michael Kors. (Am. Compl. ¶ 16.)
   3         In the instant case, Plaintiff specifically plead that “Defendant did not obtain
   4   Class Members’ express or implied consent” and that “Class Members [did not]
   5   know at the time of the conversations” that Michael Kors employed tracking
   6   software. (Am. Compl. ¶ 18.) The Privacy Policy is a publicly available document,
   7   found at https://www.michaelkors.com/info/privacy-policy/s11400079, and the
   8   accuracy of its contents cannot reasonably be questioned. Moreover, the Privacy
   9   Policy is visibly linked both on the home page of the Website and on the “Contact
 10    Us” page in which Plaintiff allegedly accessed the Chat Function at issue, the latter
 11    of which is in close proximity to the hyperlink containing the policy. The existence
 12    of the Privacy Policy and the language it contains is critical to Plaintiff’s allegation
 13    that she and other putative Class Members did not provide consent. This Court
 14    should consider the Privacy Policy, which was disclosed and linked to on the
 15    Website Plaintiff allegedly visited and with which she claims she interacted.
 16                                       CONCLUSION
 17          For all of the foregoing reasons, Defendant respectfully requests that the Court
 18    incorporate by reference the documents attached hereto as Exhibits A, B, and C; and
 19    take judicial notice of the document attached hereto as Exhibits D.
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   1   DATED: October 5, 2022            /s/ Becca J. Wahlquist
   2                                     Becca J. Wahlquist (SBN 215948)
   3                                     KELLEY DRYE & WARREN LLP
                                         350 South Grand Avenue, Suite 3800
   4                                     Los Angeles, CA 90071
   5                                     Telephone: (213) 547-4900
                                         Facsimile: (213) 547-4901
   6                                     bwahlquist@kelleydrye.com
   7
                                         Geoffrey W. Castello (Pro Hac Vice
   8                                       forthcoming)
   9                                     KELLEY DRYE & WARREN LLP
                                         One Jefferson Road, 2nd Floor
 10                                      Parsippany, NJ 07054
 11                                      Telephone: (973) 503-5900
                                         Facsimile: (973) 503-5950
 12                                      gcastello@kelleydrye.com
 13
                                         Attorneys for Defendant Michael Kors
 14
                                         (USA), Inc..
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   1                             CERTIFICATE OF SERVICE
   2         I hereby certify that, on October 5, 2022, I electronically filed the foregoing
   3   DEFENDANT MICHAEL KORS (USA), INC.’S REQUEST FOR JUDICIAL
   4   NOTICE with the United States District Court for the Central District of California
   5   by using the CM/ECF system, which will send a notice of filing to all registered
   6   users, including counsel for all parties.
   7   DATED: October 5, 2022                      Respectfully submitted,
   8
                                                   /s/ Becca J. Wahlquist
   9                                               Becca J. Wahlquist (SBN 215948)
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                                7      Case No. 2:22-cv-05902-SPG-AFM
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